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     Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     MUZDHA KHALIL
7
8
9                         IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. Cr. S. 09-0258-GEB
                                     )
14                  Plaintiff,       )     STIPULATION TO SUBMIT MOTION AND
                                     )     DROP HEARING FROM CALENDAR
15        v.                         )
                                     )     Date: June 11, 2010
16   MUZDHA KHALIL,                  )     Time: 9:00 a.m.
                                     )     Judge: Garland E. Burrell, Jr.
17                  Defendant.       )
                                     )
18   _______________________________ )
19
          It is hereby stipulated and agreed to between the United States of
20
     America through SEAN FLYNN, Assistant U.S. Attorney, and defendant,
21
22   MUZDHA KHALIL, by and though his counsel, RACHELLE BARBOUR, Assistant

23   Federal Defender that the motion set for hearing on June 11, 2010 at
24
     9:00 a.m. be submitted on the papers and that the hearing be dropped
25
     from the calendar.    The Ninth Circuit’s ruling on the DNA testing
26
27   condition addressed by this motion is still pending.         The parties agree

28   to file a memorandum updating the Court on the status of the litigation
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1    and placing the motion on calendar for hearing after the Ninth Circuit

2    rules on the controlling DNA issue.
3
          The pendency of this motion excludes time under the Speedy Trial
4
     Act, 18 U.S.C. § 3161(h)(1)(F) (Local Code E).
5
     DATED: June 9, 2010                 Respectfully submitted,
6
7                                        DANIEL J. BRODERICK
                                         Federal Defender
8
9                                        /s/ RACHELLE BARBOUR
                                         RACHELLE BARBOUR
10                                       Research and Writing Specialist
                                         Attorney for Defendant
11                                       MUZDHA KHALIL
12
     DATED: June 9, 2010                 BENJAMIN B. WAGNER
13                                       United States Attorney
14
                                         /s/ RACHELLE BARBOUR for
15                                       SEAN FLYNN
                                         Assistant U.S. Attorney
16                                       Attorney for Plaintiff
17
18                                        O R D E R

19
20
          IT IS SO ORDERED, except time is just excluded until July 16,
21
     2010.
22
23   Dated:    June 9, 2010
24
25
                                         GARLAND E. BURRELL, JR.
26                                       United States District Judge

27
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